









Affirmed and Memorandum Opinion filed May 20, 2004









Affirmed and Memorandum Opinion filed May 20, 2004.

&nbsp;

In The

&nbsp;

Fourteenth Court of Appeals

____________

&nbsp;

NO. 14-03-01053-CR

____________

&nbsp;

SARA VICTORIA
HARDEN, Appellant

&nbsp;

V.

&nbsp;

THE STATE OF TEXAS, Appellee

&nbsp;



&nbsp;

On Appeal from the
338th District Court

Harris County,
Texas

Trial Court Cause No.
950,684

&nbsp;



&nbsp;

M E M O R A N D U M&nbsp;&nbsp; O
P I N I O N

After a jury trial, appellant was convicted of the offense of
burglary of a habitation.&nbsp; On September
11, 2003, the trial court sentenced appellant to confinement for forty years in
the Institutional Division of the Texas Department of Criminal Justice.&nbsp; Appellant filed a written notice of appeal.&nbsp; 








Appellant=s appointed counsel filed a brief in which he concludes the
appeal is wholly frivolous and without merit.&nbsp;
The brief meets the requirements of Anders v. California, 386
U.S. 738, 87 S.Ct. 1396 (1967), presenting a professional evaluation of the
record demonstrating why there are no arguable grounds to be advanced.&nbsp; See High v. State, 573 S.W.2d 807
(Tex. Crim. App. 1978).

A copy of counsel=s brief was delivered to
appellant.&nbsp; Appellant was advised of the
right to examine the appellate record and no pro se response has been filed.

We agree the appeal is wholly frivolous and without
merit.&nbsp; Further, we find no reversible
error in the record.&nbsp; A discussion of the
brief would add nothing to the jurisprudence of the State.

Accordingly, the judgment of the trial court is affirmed.

&nbsp;

PER CURIAM

&nbsp;

Judgment rendered and Memorandum
Opinion filed May 20, 2004.

Panel consists of Justices Yates,
Anderson, and Hudson.

Do Not Publish C Tex. R. App. P. 47.2(b).





